OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:95CR00075-004
                           Richard Byrd
                                                                       )   USM No: 12105-058
Date of Previous Judgment: May 13, 1996                                )   Claire Rauscher
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 180           months is reduced to 146                        .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37               Amended Offense Level:                                         35
Criminal History Category: IV               Criminal History Category:                                     IV
Previous Guideline Range: 292 to 365 months Amended Guideline Range:                                       235       to 292   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   This Order does not change the Defendant’s sentence with regard to Counts 15, 16, and 17, which
                     were for firearms crimes, each carrying a 60 month mandatory consecutive sentence. The 180
                     months sentence for Count 1 (modified herein to 146 months) was to run concurrently with the 180
                     months for Counts 15, 16 and 17. Thus Defendant’s total sentence remains the 180 months for
                     Counts 15, 16 and 17, with the new sentence for Count 1 to run concurrently therewith.
III. ADDITIONAL COMMENTS
Upon release from imprisonment, and absent a residential plan accepted by the U.S. Probation Officer prior to release
from incarceration, it is ordered that as a condition of supervised release the defendant shall submit to the local
Residential Reentry Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation


Except as provided above, all provisions of the judgment dated May 13, 1996                       shall remain in effect.
IT IS SO ORDERED.

Order Date:        January 23, 2009


Effective Date:
                     (if different from order date)



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